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      In The United States Court of Federal Claims
                                           No. 08-700C

                                  (Filed: October 25, 2013)
                                         __________

 JAY ANTHONY DOBYNS,

                              Plaintiff,

                       v.

 THE UNITED STATES,

                              Defendant.

                                            _________

                                             ORDER
                                            _________

      Closing argument will be held on this case on Tuesday, February 18, 2014, at 10:00 a.m.
(MST) at the United States District Court for the District of Arizona, Evo A. DeConcini U.S.
Courthouse, Courtroom 6 A, 405 W. Congress Street, Tucson, Arizona.

       IT IS SO ORDERED.




                                                         s/Francis M. Allegra
                                                         Francis M. Allegra
                                                         Judge
